Case 3:23-cv-00571-TAD-KDM Document 93-4 Filed 11/30/23 Page 1 of 1 PageID #: 3819


                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                   MONROE DIVISION

    JILL HINES, ET AL.                            CIVIL ACTION NO. 3:23-CV-00571

    VERSUS                                        CHIEF JUDGE TERRY A. DOUGHTY



    ALEX STAMOS, ET AL.                           MAGISTRATE JUDGE MCCLUSKY



                                             ORDER

          Considering the Unopposed Motion for Extension of Time to File Responsive Pleadings to

   Plaintiffs’ First Amended Complaint [Doc. #__] filed on behalf of defendant The Aspen Institute,

          IT IS ORDERED that The Aspen Institute’s requested 14-day extension of time to

   respond to the First Amended Complaint be and is hereby GRANTED, and that The Aspen

   Institute be allowed to file responsive pleadings by December 18, 2023.

          SIGNED this _____ day of ______________, 2023, in _______________, Louisiana.




                                               ____________________________________
                                                        TERRY A. DOUGHTY
                                                 UNITED STATES DISTRICT JUDGE




                                                  1
